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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

VICTOR MEJIA RIOS, individually; W.D.M.R.,              §
individually and by and through his Parent, VICTOR      §
MEJIA RIOS; JORGE LUIS MARTINEZ                         §
MARTINEZ, individually; J.L.M.F., individually and      §
by and through his Parent, JORGE LUIS                   §
MARTINEZ MARTINEZ; TOMAS ANTONIO                        §
OLIVEROS, individually; A.R.O., individually and        §
by and through his Parent, TOMAS ANTONIO                §
OLIVEROS; WILDER XITUMUL GARCIA,                        §
individually; A.M.X.C., individually and by and         §
through his Parent, WILDER XITUMUL GARCIA;              §
PEDRO CARRILLO JIMENEZ, individually;                   §
M.C.J., individually and by and through his Parent,     §
PEDRO CARRILLO JIMENEZ; NELSON                          §
CAZALEGNO PAZ, individually; O.J.C.S.,                  §
individually and by and through his Parent, NELSON      §
CAZALEGNO PAZ; JOSE PINEDA RIVERA,                      §
individually; J.M.P.A., individually and by and         §   Case No. 5:19-cv-00552-XR
through his Parent, JOSE PINEDA RIVERA;                 §
WILSON PINEDA GONZALES, individually;                   §
W.E.P.S., individually and by and through his Parent,   §
WILSON PINEDA GONZALES; NOE WALTER                      §
PEREZ GONSALEZ, individually; G.L.P.G.,                 §
individually and by and through his Parent, NOE         §
WALTER PEREZ GONSALEZ; MARVIN REYES                     §
PORTILLO, individually; M.R.R.R., individually          §
and by and through his Parent, MARVIN REYES             §
PORTILLO; RUBIER NATO DE OLIVEIRA,                      §
individually; G.H.D.O., individually and by and         §
through his Parent, RUBIER NATO DE OLIVEIRA;            §
OBDULIO VASQUEZ PUAC, individually; T.P.C.,             §
individually and by and through his Parent,             §
OBDULIO VASQUEZ PUAC; ELMER VELIZ                       §
RIVERA, individually; E.Y.V.B., individually and by     §
and through his Parent, ELMER VELIZ RIVERA,             §
                                                        §
       Plaintiff,                                       §
v.                                                      §
                                                        §
THE GEO GROUP, INC.,                                    §
                                                        §
       Defendant.                                       §
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              ORDER GRANTING DEFENDANT THE GEO GROUP, INC.’S
                 MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

       ON THIS DAY came on to be considered Defendant The GEO Group, Inc.’s Motion to

Dismiss Plaintiffs’ Complaint. Based on the pleadings of record and the papers on file with the

Court, it is the opinion of this Court that such Motion should, in all things, be GRANTED.

Therefore, all of Plaintiffs’ claims are hereby dismissed with prejudice.

       A final judgment will issue.

       SIGNED this _______ day of _________________________, 2019.



                                                 XAVIER RODRIGUEZ
                                                 U.S. DISTRICT JUDGE
